         Case 3:10-cr-04901-JLS                       Document 168                Filed 11/06/13              PageID.676               Page 1 of 2


    'll\AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
               Sheet 1




                                              UNITED STATES DISTRICT COUR't3 L:-.'I -C)                                               i.,;
                                                                                                                                                nl
                                                                                                                                                ~




                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE V\(
                                        v.                                         (For Offenses Committed On or After November 1,            l~~)'    !



                     EFREN GONZALEZ-RIVAS (4)                                      Case Number: 10CR4901-JLS

                                                                                    HOWARD B. FRANK
                                                                                   Defendant's Attorney
    REGISTRATION NO. 32376298

    o
    THE DEFENDANT:
    [8J pleaded guilty to count(s) ONE OF THE INDICTMENT
    o     was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
    Title & Section                          Nature of Offense                                                                               N umber(s)
46 USC 70503                          CONSPIRACY TO POSSESS COCAINE WITH INTENT TO DISTRIBUTE                                                1
                                      ON BOARD A VESSEL




        The defendant is sentenced as provided in pages 2 through _ _ _
                                                                      2 _ _ of this judgment. The sentence is imposed pursuaJ'!t
 to the Sentencing Reform Act of 1984.
 o The defendant has been found not       guilty on count(s)
                                                               -----------------------------
 [8J Count(s) TWO OF THE INDICTMENT                                    [8J           is        areD dismissed on the motion of the United States.
 [8J Assessment: $100.00 IMPOSED


  [8J Fine waived                                   0 Forfeiture pursuant to order filed                                        , included herein.
       IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notity the court and United States Attorney ofany material change in the defendant's economic circumstances.

                                                                               OCTOBER 25, 2013




                                                                                   ITED STATES DISTRICT JUDGE

                                                                                                                                                10CR4901-JLS
     Case 3:10-cr-04901-JLS                       Document 168           Filed 11/06/13    PageID.677           Page 2 of 2


AO 245B (CASD) (Rev. J21J J) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                            Judgment - Page _ _2_ of          2
 DEFENDANT: EFREN GONZALEZ-RIVAS (4)
 CASE NUMBER: lOCR4901-JLS
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         FIFTY-FIVE (55) MONTHS TO RUN CONCURRENT TO SENTENCE IMPOSED IN COLOMBIA



    o Sentence imposed pursuant to Title 8 USC Section I 326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States MarshaL
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Da.m.    Dp·m.       on _ _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before ---------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                               RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                     By ______~~~~==~~~~~------
                                                                                       DEPlITY UNITED STATES MARSHAL




                                                                                                                     lOCR4901-JLS
